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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                        §
    In re:                              §                       Chapter 11
                                        §
    LIMETREE BAY SERVICES, LLC, et al., §                       Case No. 21-32351 (DRJ)
                                        §
           Debtors.1                    §                       Jointly Administered
                                        §

DIP LENDER’S LIMITED OBJECTION TO THE DEBTORS’ EMERGENCY MOTION
    FOR APPROVAL OF STIPULATION BETWEEN THE DEBTORS, J. ARON &
COMPANY, LLC, BP PRODUCTS NORTH AMERICA, INC., AND THE COMMITTEE
                   UNDER BANKRUPTCY RULE 9019

         Sentinel 405 LLC and Arena Investors, LP (together, the “DIP Lender”), for its Limited

Objection (“Objection”) to the Debtors’ Emergency Motion for Approval of Stipulation Between

the Debtors, J. Aron & Company, LLC, BP Products North America, Inc. and the Committee

Under Bankruptcy Rule 9019 [Docket No. 697] (the “Motion”), respectfully represents:

                                         PRELIMINARY STATEMENT

         1.      As the Court knows, the value of the collateral underlying, and securing, the DIP

financing has been at issue, and has been an issue, for the DIP Lender since nearly the outset of

this case – in particular, the “margin” that was to be coming back to the estates from J. Aron, which

serves as the principal collateral to repay the DIP loan. Indeed, the issue was placed front and

center at the hearing on August 9, 2021. The Debtors contended that $38 million coming back

from J. Aron & Company LLC (“J. Aron”) was “money good.”2 The DIP Lender informed the




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC. (1776); Limetree Bay
Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC
(9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services,
LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
2
  Aug. 9. Hrg. Tr. at 6:5-12; 8:17-9:14.


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Court of several “collateral value issues,”3 and J. Aron, for its part, then responded to everyone

with the equivalent of “not so fast, it might be $38 million, it might be zero, or it might be

something in between.”4 And that is exactly what the DIP Lender has been worried about.5

         2.       In connection with the Motion, the Debtors filed the supporting declaration of Mark

Shapiro [Docket No. 697-3], wherein reference is made to a “Settlement Statement” delivered by

J. Aron to the Debtors.              Per the Shapiro Declaration, the Debtors do not dispute the

numbers/amounts contained in the Settlement Statement. However, the Settlement Statement is

not attached to the Motion or the Shapiro Declaration for the Court’s review, and to otherwise

provide all parties in interest with the level of transparency the Court typically demands. As a

result, the Settlement Statement is attached hereto as Exhibit A.6

         3.       A “confidential draft” of the Settlement Statement dated October 13, 2021 was

provided to the DIP Lender by Debtors’ counsel on October 14, 2021. On October 26, 2021,

another Settlement Statement marked “For Settlement Discussion Only; Subject to FRE 408;

Confidential; 10/15/21” was provided to the DIP Lender, but without any back up data. This is

the Settlement Statement to which the Shapiro Declaration apparently refers in paragraph 4 (and

which is attached hereto), and reflects that the final number owing back to the estates decreased

over two days by approximately $450,000 (from approximately $9.66 million to approximately




3
  Id. at 29:9-25; 46:1-25.
4
  Id. at 35:10-36:4.
5
  As set forth below, subject to this Objection, it appears that approximately $9.2 million will be coming back to the
estates. That does not account for approximately $20 million in catalyst, which will presumably be sold as part of a
going concern sale or a liquidation. If, indeed, the catalyst is sold for approximately $20 million, that would result in
a total of approximately $29 million returning to the estates, which is almost $10 million less than originally projected
by the Debtors.
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  Although the DIP Lender does not believe there is anything confidential about the Settlement Statement, the same
has been filed under seal at the request of J. Aron.

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$9.21 million), and the legal fees being claimed by J. Aron increased by approximately $300,000

(from approximately $1.29 million to approximately $1.6 million).7

         4.       The DIP Lender had to ask for the underlying backup data and information. The

flow of such information and data began on October 29 and continues today, and the DIP Lender

remains in discussions with the Debtors about certain other calculations contained within the

Settlement Statement. As part of the deliveries that commenced on October 29, 2021, a summary

legal invoice for J. Aron’s counsel was provided to the DIP Lender late in the afternoon on October

29, but only after it was specifically requested. See Exhibit B. No invoices were ever served by

J. Aron’s counsel pursuant to paragraph 8 of the Final DIP Order [Docket No. 495], which governs

the payment of postpetition fees to counsel for the various groups of prepetition lenders, including

J. Aron.

         5.       As stated above, the Settlement Statement reflects what the DIP Lender believes is

the unreasonable amount of $1.6 million in postpetition legal fees. The summary J. Aron legal fee

invoice attached as Exhibit B, however, reflects postpetition fees of approximately $1.4 million

(and includes an “estimate” of $100,000 through October 29, 2020, which is three days from the

date of the invoice) plus another approximately $14,000 in expenses.

         6.       Putting aside that the $1.6 million in fees reflected in the Settlement Statement does

not foot to the $1.4 million reflected in the summary invoice attached as Exhibit B, both amounts

are unreasonable on their face under the circumstances of this case without further explanation

demonstrating reasonableness.




7
  The invoice provided to the DIP Lender seeks fees of approximately $1.4 million. There thus appears to be about a
$200,000 disconnect between the legal invoice, and the Settlement Statement, in favor of J. Aron that will need to be
reconciled. Moreover, as discussed below, the data underlying the Settlement Statement has only recently been
provided to the DIP Lender. The DIP Lender continues to review the same and reserves the right to lodge additional
objections, as appropriate.

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         7.       As a consequence, following the status conference before the Court on October 29,

demand was made for the underlying invoices, showing the detail of the services provided. That

request was refused on October 29, and again on October 31. See email exchange attached as

Exhibit C.

         8.       Because the request for the underlying J. Aron legal fee detail has been refused,

and because the DIP Lender finds the fees sought by J. Aron excessive and unreasonable on their

face, the DIP Lender objects to the Motion to the extent it seeks to pay J. Aron either the amount

set forth in Exhibit A (Settlement Statement) or Exhibit B (invoice).8

                                          LIMITED OBJECTION

         9.       The DIP Lender objects to the reimbursement of legal fees and expenses requested

by J. Aron, and as requested to be paid as part of the Motion. Despite J. Aron’s contention to the

contrary in Exhibit C, as a party-in-interest in this chapter 11 case, and perhaps the one who is

most impacted by Motion and the Settlement Statement, there is no question the DIP Lender has

party-in-interest standing to object to the Motion and the amounts sought to be paid to J. Aron.

Moreover, paragraph 8 of the Final DIP Order requires that the DIP Lender be served with copies

of invoices from the prepetition lenders as a condition to payment. With respect to J. Aron, no

invoices were received until October 29, and so the DIP Lender is well within the 10-day objection

time frame set forth in paragraph 8 of the Final DIP Order.

         10.      As to the fees themselves, it cannot be reasonably argued that a “reasonableness

test” does not apply. To the contrary, not only does J. Aron admit that fees to be reimbursed must




8
 As stated above, the actual amount of fees to be charged needs to be reconciled, given that the Settlement Statement
shows approximately $1.6 million while the invoice shows approximately $1.4 million.

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be reasonable,9 but paragraph 8 of the Final DIP Order also makes clear that J. Aron is only entitled

to its “reasonable fees and costs.” Further, neither J. Aron, its counsel, the Debtors, the DIP Lender

nor any other party-in-interest is or can be the arbiter of what fees are (or are not) “reasonable” –

that is the province of the Court.

         11.       It is also black letter law that a prepetition lender – to the extent oversecured – may

only recover its reasonable attorney’s fees. See 11 U.S.C. § 506(b); United States v. Ron Pair

Enters., 489 U.S. 235, 241 (1989) (“Recovery of fees, costs, and charges, however, is allowed only

if they are reasonable and provided for in the agreement under which the claim arose”).10

         12.       As a result, unless and until J. Aron provides its underlying time detail so that the

Court can make an informed determination as to the reasonableness of the postpetition fees sought

by J. Aron, such fees should not be paid.

         13.       In that regard, since $1.6 million is in dispute, J. Aron should be required to deposit

such amount into the registry of court until this fee issue has been resolved. The remaining

approximately $9.2 million reflected in the Settlement Statement should be paid over to the

Debtors forthwith, as that amount is not in dispute. This fee dispute should not in any way hold

up the undisputed amounts owing back to the estate from J. Aron.




9
  See email from R Spigel to E. Green and J. Rose on October 29, 2021 (included in Exhibit C) (“The MMA, which
the DIP lender is not a party to, specifies that J. Aron is entitled to payment of its reasonable attorney’s fees and costs.
See, e.g., MMA sec. 13.2(n)”).
10
   See also, e.g., Welzel v. Advocate Realty Invs., LLC (In re Welzel), 275 F.3d 1308, 1320 (11th Cir. 2001) (holding
reasonableness standard applied even when contractual attorney fees were enforceable under state law); Atwood v.
Chase Manhattan Mort. Co. (In re Atwood), 293 B.R. 227, 233 (B.A.P. 9th Cir. 2003) (stating that secured claim
holder has the burden of proving the reasonableness of its fee claim under § 506(b)); In re Prevo, 394 B.R. 847, 852
(Bankr. S.D. Tex. 2008) (disallowing fees because the lender failed to submit documentation supporting the
reasonableness of the fees and costs under § 506(b)); In re 900 Corp., 327 B.R. 585, 593 (Bankr. N.D. Tex. 2005)
(disallowing oversecured creditor’s postpetition attorneys’ fees because they were not reasonable under § 506(b)); In
re Cummins Util., L.P., 279 B.R. 195, 209 (Bankr. N.D. Tex. 2002) (finding attorneys’ fees unreasonable under § 506
because they were “blatantly unnecessary”).

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                                    RESERVATION OF RIGHTS

         14.     The DIP Lender reserves all rights to supplement this Objection to raise other and

additional issues and objections to the Settlement Statement. Because the flow of information and

data underlying the Settlement Statement did not commence until October 29 and remains in

progress, the DIP Lender may discover other issues or discrepancies that require Court

intervention.

         WHEREFORE, the DIP Lender requests that (i) any order entered by the Court approving

the Motion require J. Aron to (A) place $1,601,412.26 in the Court’s registry, pending resolution

of this fee dispute, representing the full amount of the fees requested in the Settlement Statement

and (B) turn over to the estates $9,212,126.69, which is the undisputed amount owing back to the

estate pursuant to the Motion and the Settlement Statement and (ii) grant such other and further

relief as may be just and proper.




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         Respectfully submitted this 1st day of November, 2021.

                                               GRAY REED

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                                               COUNSEL TO 405 SENTINEL LLC AND
                                               ARENA INVESTORS, LP

                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 1st day of November, 2021, he caused a true
and correct copy of the foregoing pleading to be served via CM/ECF on all parties who have
subscribed for electronic notice in this case, and via electronic mail on counsel to the Debtors and
J. Aron as set forth below.

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